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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


  PATRICK HENRY MURPHY JR.                      §
                                                §
                         Petitioner,            §
                                                §
                                                §
                -vs-                            §        CIVIL NO. 3:09-cv-01368L
                                                §
                                                §    ***DEATH PENALTY CASE***
                                                §
  RICK THALER, Director,                        §
  Texas Department of Criminal Justice,         §
  Correctional Institutions Division,           §
                                                §
                         Respondent.            §

                                ______________________________

    PETITIONER PATRICK HENRY MURPHY’S SUPPLEMENTAL BRIEF
  ADDRESSING WHETHER THE COURT SHOULD SUSPEND PROCEEDINGS
   PENDING THE SUPREME COURT’S DECISION IN TREVINO v. THALER
                     ______________________________




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


  PATRICK HENRY MURPHY JR.                         §
                                                   §
                           Petitioner,             §
                                                   §
                                                   §
                  -vs-                             §        CIVIL NO. 3:09-cv-01368L
                                                   §
                                                   §    ***DEATH PENALTY CASE***
                                                   §
  RICK THALER, Director,                           §
  Texas Department of Criminal Justice,            §
  Correctional Institutions Division,              §
                                                   §
                           Respondent.             §

                                  ______________________________

     PETITIONER PATRICK HENRY MURPHY’S SUPPLEMENTAL BRIEF
   ADDRESSING WHETHER THE COURT SHOULD SUSPEND PROCEEDINGS
    PENDING THE SUPREME COURT’S DECISION IN TREVINO v. THALER
                      ______________________________


           On June 30, 2010, Petitioner filed his Petition for a Writ of Habeas Corpus in this

  Court.    Dkt. 18.      In the petition, Mr. Murphy raised two claims addressing the

  ineffectiveness of his counsel at his capital murder trial. Dkt. 18, at 26-96. Neither of

  these claims was presented in his state application for habeas corpus relief. Dkt. 35, at

  Exhibit 1. On March 20, 2012, the Supreme Court decided Martinez v. Ryan, 132 S. Ct.

  1309 (2012). Under Martinez, “a procedural default will not bar a federal habeas court

  from hearing a substantial claim of ineffective assistance at trial if, in the initial-review

  collateral proceeding, there was no counsel or counsel in that proceeding was

  ineffective.” Martinez v. Ryan, 132 S. Ct. 1309, 1320 (2012). On October 29, 2012, the
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  Supreme Court granted certiorari on the critical issue of whether Martinez applies to

  cases arising from Texas courts. Trevino v. Thaler, 133 S. Ct. 524 (2012); see also

  Haynes v. Thaler, 133 S. Ct. 639 (2012) (Statement of Sotomayor, J., respecting the grant

  of the stay of execution) (“We recently granted certiorari to address precisely the

  question whether Martinez applies to habeas cases arising from Texas courts.”) (citing

  Trevino v. Thaler, 133 S. Ct. 524 (2012). This Court should not find Mr. Murphy’s

  claims of ineffective assistance of trail counsel to be procedurally defaulted and should

  instead stay the proceedings so that Mr. Murphy can present his claims to the state habeas

  court to determine whether his claims are procedurally defaulted. However, if this Court

  believes the claims of the ineffectiveness of trial counsel raised in Mr. Murphy’s Petition

  for a Writ of Habeas Corpus are procedurally defaulted, it should suspend proceedings

  pending the Supreme Court’s decision in Trevino v. Thaler.

  I.     Mr. Murphy’s claims of ineffectiveness of trial counsel are substantial.

         Mr. Murphy was prejudiced at both stages of trial by counsel’s failure to seek a

  change of venue. The media coverage of the prison escape and manhunt, the Oshman’s

  robbery and Aubrey Hawkins’ murder, the subsequent capture, and the trial of Mr.

  Murphy’s co-defendants was not merely a dry recitation of the underlying facts. Rather,

  the news reports contained highly inflammatory information about these events in general

  and Mr. Murphy in particular. Respondent continues to ignore the fact that the trial court

  entered findings that “[t]here has been extensive media coverage of this case throughout

  the initial investigation, arrest, and grand jury proceedings” and that “[t]here has been

  extensive news coverage concerning the events surrounding the commission of this

  offense and possible extraneous offenses occurring both before and after the time of the




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  offense alleged in this case.” See Dkt. 45, at 15-16. The trial court feared that “the

  statements made to, and published by, the press [posed] a serious and imminent threat to”

  Mr. Murphy’s right to be tried by a fair and impartial jury. Id. The fact that the trial

  court granted co-defendant Michael Rodriguez’s motion for a change of venue is fatal to

  Respondent’s assertion that there was no basis for a change of venue motion. Mr.

  Murphy’s claim that he was prejudiced by trial counsel’s failure to seek a change of

  venue is not meritless and without basis as Respondent argues; it is substantial.

         Similarly substantial is Mr. Murphy’s claim that he was prejudiced by counsel’s

  severely deficient performance during the punishment phase of his trial. Trial counsel’s

  own expert witness testified at trial that Mr. Murphy is a “very dangerous inmate.” It was

  objectively unreasonable for trial counsel to have called this expert. Dkt. 45, at 17-19.

  Trial counsel did not hire a mitigation investigator until two weeks after voir dire had

  begun. Dkt. 45, at 19. Consequently, trial counsel did not learn about the true depth of

  the neglect and abuse Mr. Murphy experienced as a child that would have been

  discovered had trial counsel performed an adequate mitigation investigation. See Dkt.

  45, at 23-24. The shoddy mitigation investigation also failed to discover good character

  evidence that could have been presented to the jury. Dkt. 45, at 24. The mitigation

  evidence subsequently discovered by undersigned counsel might well have influenced the

  jury’s appraisal of Mr. Murphy’s moral culpability.        Dkt. 45, at 20.    These errors

  combined with counsel’s failure to develop evidence that he suffers from post-traumatic

  stress disorder, failure to object to the State’s improper punishment argument and failures

  during voir dire harmed Mr. Murphy; but for these errors, the jury might well have

  answered the special issues differently. See Dkt. 45, at 25-40. Mr. Murphy’s claim that




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  he was prejudiced by his trial counsel’s deficient performance during the punishment

  phase of his trial is substantial.

  II.     Mr. Murphy’s state habeas counsel was ineffective.

          In determining whether state habeas counsel was ineffective in failing to discover

  and present claims that trial counsel was ineffective and in fact failing to discover and

  present a single cognizable claim, this Court should apply the standards set forth in

  Strickland v. Washington, 466 U.S. 668 (1984). Under Strickland, the defendant first

  “must show that counsel’s representation fell below an objective standard of

  reasonableness,” which must be judged under “prevailing professional norms.”

  Strickland v. Washington, 466 U.S. 668, 688 (1984). In an evaluating a claim that

  counsel failed to adequately investigate, Strickland states “counsel has a duty to make

  reasonable investigations or to make a reasonable decision that makes particular

  investigation unnecessary.” Id. at 691. Second, the defendant must satisfy the prejudice

  requirement by showing there is a “reasonable probability that, but for counsel’s

  unprofessional errors, the result of the proceeding would have been different.” Id. at 694.

  A reasonable probability is a probability sufficient to undermine confidence in the

  outcome.” Id.

          The American Bar Association’s revised Guidelines for the Appointment and

  Performance of Defense Counsel in Death Penalty Cases, published in 2003, articulate

  professional norms for capital defense counsel.      Am. Bar Ass’n, Guidelines for the

  Appointment and Performance of Defense Counsel in Death Penalty Cases (rev. ed.

  2003) [hereinafter ABA Guidelines]. The Supreme Court has long referred to the ABA’s

  guidelines as “guides to determining what [performance] is reasonable.” Wiggins v.




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  Smith, 539 U.S. 510, 524 (2003) (quoting Strickland, 466 U.S. at 688). The State Bar of

  Texas has likewise issued guidelines that “articulate the statewide standard of practice for

  the defense of capital cases” in Texas. State Bar of Texas, Guidelines and Standards for

  Texas Capital Counsel (2006) [hereinafter SBOT Guidelines].

         Professional standards in place during Mr. Murphy’s state habeas proceedings

  unequivocally required counsel at all stages, including post-conviction, “to conduct a

  thorough and independent investigation relating to the issues of both guilt and penalty.”

  ABA Guidelines, Guideline 10.7A. This investigation was to include:

         (1) Medical history (including hospitalizations, mental and
             physical illness or injury, alcohol and drug use, pre-natal and
             birth trauma, malnutrition, developmental delays, and
             neurological damage);

         (2) Family and social history (including physical, sexual or
             emotional abuse; family history of mental illness, cognitive
             impairments, substance abuse, or domestic violence; poverty,
             familial instability, neighborhood environment, and peer
             influence); other traumatic events such as exposure to criminal
             violence, the loss of a loved one, or a natural disaster;
             experiences of racism or other social or ethnic bias; cultural or
             religious influences; failures of government or social
             intervention (e.g., failure to intervene or provide necessary
             services, placement in poor quality and foster care or juvenile
             detention facilities); [and]

  ABA Guidelines, Commentary to Guideline 10.7; see also ABA Guidelines,

  Commentary to Guideline 10.15.1 (“collateral counsel cannot rely on the previously

  compiled record but must conduct a thorough, independent investigation in accordance

  with Guideline 10.7”). Counsel also has a duty to “maintain copies of media reports

  about the case for various purposes, including to support a motion for a change of

  venue….” ABA Guidelines, Commentary to Guideline 10.7.




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         The Texas Criminal Appellate Manual, published in 1996, extolled the necessity

  of investigation in state post-conviction.

         The Need for Investigation.- Facts outside the record are critical to a
         successful writ application. Those facts must be sought out through
         investigation. The investigation required of habeas counsel is more
         extensive that that required of trial counsel. Because of the nature of the
         habeas claims, habeas counsel must investigate not only the client’s
         background and the facts that gave rise to the offense, but also the
         investigation by police and defense counsel and the actions of the jury.
         There is no quick and easy way to do this and counsel will almost
         certainly need the help of a trained investigator to do an efficient and
         complete job....

  State Bar of Texas, Texas Criminal Appellate Manual 31 (1996).

         The manual continues, instructing counsel to interview the client’s family

  members.

         Interview your client’s family members. They may shed light on
         mitigating evidence that was not presented at trial, or guilt/innocence
         phase evidence that was suggested to trial counsel, but not presented.
         They will certainly have things to tell you about your client’s background
         that you can get nowhere else that could contribute substantially to the
         development of claims concerning mental disorders, mental limitations, or
         drug abuse.

  Id. at 33-34.

         State habeas counsel is also required to assemble a team that includes person who

  can detect whether the client suffers from conditions such as post-traumatic stress

  disorder. ABA Guidelines, Guidelines 1.1(B), Commentary to Guideline 4.1.

         The State Bar of Texas Guidelines and Standards for Texas Capital Counsel also

  make clear the requirement of thorough extra-record investigation in habeas proceedings

  warning counsel against treating the proceeding like a “second direct appeal.”

         Habeas corpus counsel must understand that the state habeas
         corpus proceeding is not a second direct appeal. Direct appeal-
         like, record-based claims are not cognizable in state habeas corpus



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         and can be fatal to the capital client. Counsel should not accept
         an appointment if he or she is not prepared to undertake the
         comprehensive extra-record investigation that habeas corpus
         demands.

  SBOT Guidelines, Guideline 12.2(B)(1)(a) (2006); see also Dkt. 45, Exhibit 1, at 3-4

  (trial court informing Mr. Murphy of habeas counsel’s duties after calling a hearing

  because “had some questions about what work was done or not done”). Moreover,

  claims relying on extra-record evidence – as do both of Mr. Murphy’s claims that his trial

  counsel was ineffective – can only be brought in habeas proceedings.

         Despite these well-established norms, state habeas counsel’s performance was

  grossly deficient. He failed to conduct any investigation into Mr. Murphy’s background.

  The voucher submitted by state habeas counsel reveals that he made no attempts to

  interview any member of Mr. Murphy’s, gather any records, employ any expert trained to

  detect post-traumatic stress disorder; it reveals his work was completely devoid of any

  extra-record investigation.   Dkt. 35, at Exhibit 2. State habeas counsel’s failure to

  perform any investigation was reflected in the state habeas application filed. State habeas

  counsel, indeed, treated the proceeding like a “second direct appeal” and raised only

  record-based claims.    The application was only forty pages long and contained no

  cognizable claims. See Dkt. 35, at Exhibit 1; Exhibit 1 (Findings of Fact and Conclusions

  of Law), at paras. 15, 89.

         No evidentiary hearing was requested or held. See Ex parte Murphy, No. WR-

  63,549-01 (Tex. Crim. App. July 1, 2009); Dkt. 35, at Exhibit 1. On July 1, 2009, the

  CCA adopted the trial court’s findings of fact and conclusions of law and denied relief.

  Ex parte Murphy, No. WR-63,549-01 (Tex. Crim. App. July 1, 2009).           The    horrific

  details of Mr. Murphy’s childhood and good character evidence contained in the petition



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  filed by undersigned counsel, as well as the opportunity to seek a remedy for trial

  counsel’s deficient performance, were readily available to Mr. Murphy’s state habeas

  counsel. However, instead of conducting a thorough investigation into Mr. Murphy’s

  background, state habeas counsel treated the proceeding like a second direct appeal, and

  squandered his opportunity to present his claims of ineffective assistance of counsel to

  the state habeas court.

            There is no doubt that Mr. Murphy was prejudiced by state habeas counsel’s

  failures. Because he conducted no extra-record investigation, counsel failed to present

  any cognizable claims to the state habeas court. He did not simply neglect to include one

  or two claims. He failed to raise any cognizable claims at all. If this Court finds that Mr.

  Murphy’s claims of ineffective assistance of trial counsel are defaulted, he would be even

  further prejudiced because state habeas counsel’s failures would have resulted in his

  being unable to raise these in a federal court without the equitable doctrine announced in

  Martinez that the ineffectiveness of state habeas counsel can serve as cause to excuse the

  default. Because these claims are substantial, there is a reasonable probability that the

  outcome of his habeas proceedings would have been different had counsel raised these

  claims.

  III.      This Court should not find that Mr. Murphy’s claims are procedurally
            defaulted.

            Although Mr. Murphy’s substantial claims of ineffectiveness of trial counsel are

  unexhausted, this Court should not find them to be procedurally defaulted. The doctrines

  of exhaustion and procedural default are not co-extensive. Exhaustion ensures that state

  courts are provided with an opportunity to correct federal constitutional errors marring

  state convictions before the claims are presented to federal courts. See Rose v. Lundy,



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  455 U.S. 509, 518 (1982). In accordance with this principle, Congress has prohibited

  federal courts from granting habeas relief when the petitioner “has the right under the law

  of the State to raise, by any available procedure, the question presented.” 28 U.S.C. §

  2254(c).

         The procedural default doctrine’s underpinnings are similar to those of the

  exhaustion doctrine:    it is grounded in respect for the State’s interest in requiring

  petitioners to adhere to its procedural requirements for raising constitutional violations.

  See Coleman v. Thompson, 501 U.S. 722, 732 (1991). Procedural default generally

  occurs in one of two circumstances. First, when a claim has been exhausted in the state

  courts, the claim may nevertheless be procedurally defaulted if the state court denied

  relief expressly relying on a state procedural rule that is both independent of the federal

  claim and adequate to support the decision. Id. at 729. Second, a petitioner’s claim may

  be procedurally defaulted when the claim is unexhausted and “the court to which he

  would be required to return [to exhaust the federal claim] … would now find the claim

  procedurally barred.” Finley v. Johnson, 243 F.3d 215, 220 (5th Cir. 2001). However,

  unless it is “entirely clear” that the state court would apply an independent and adequate

  procedural bar to petitioner’s claim, “the State should be allowed to make the procedural,

  vel non, determination.” Wilder v. Cockrell, 274 F.3d 255, 262 (5th Cir. 2001).

         It is not at all “entirely clear” that Mr. Murphy’s claims would be procedurally

  barred if this Court stayed proceedings to allow him to return to the Court of Criminal

  Appeals.    The CCA has recently acknowledged that there are judicially-created

  exceptions to Texas’ procedural bar to successive petitions. See, e.g., Ex parte Hood, 211

  S.W.3d 767 (Tex. Crim. App. 2007); Ex parte Granados, No. WR-51,135-01 (Tex. Crim.




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  App. 2007) (suggesting the existence of equitable exceptions to the Section 5 procedural

  bar but finding that Granados has not raised any meritorious claims) (not designated for

  publication); Ex parte Moreno, No. WR-25,897-01 (Tex. Crim. App. 2007) (judicial

  order – not designated for publication). While Mr. Murphy’s earlier reliance on Ruiz v.

  Quarterman, 504 F.3d 523 (5th Cir. 2007) has been impacted by subsequent decisions,

  the question of whether poor state habeas representation will open the door to a

  successive petition in the Court of Criminal Appeals remains an open question.

         Since at least 2007, it has been acknowledged that there is a “serious and

  unresolved question” as to whether appointment of incompetent state habeas counsel

  could operate as an equitable exception to Texas’ procedural bar. Ex parte Ruiz, No.

  WR-27,328-03 (Tex. Crim. App. 2007) (Womack, J., concurring). That question has

  taken on increased urgency in the wake of the exoneration of Anthony Graves, who was

  recently cleared of the charges for which he spent years on Texas’ death row. Notably, in

  2002, the CCA invoked the procedural bar in denying Graves’ state habeas successor

  raising the now indisputably-meritorious claims that his incompetent state habeas counsel

  initially failed to raise. Ex parte Graves, 70 S.W.3d 103 (Tex. Crim. App. 2002). Judges

  Price and Holcomb have joined their colleague Judge Womack in questioning “whether

  we should regard a colorable claim of ineffective assistance of original habeas counsel as

  a newly available fact for purposes of [Texas’ procedural bar]; or, failing that, whether

  we should recognize a claim of ineffective assistance of original habeas counsel as, at

  least, a non-statutory gateway for raising discrete constitution claims that would

  otherwise be barred under Article 11.071, Section 5.” Ex parte Foster, No. WR-65,799-

  02 (Tex. Crim. App. Dec. 30, 2010) (Price, J., dissenting) (Holcomb, J., joining dissent)




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  (not designated for publication).     Indeed, Judge Price has since gone even further

  declaring that

         Article 11.071 [the Texas capital habeas statute] as a whole was meant to
         endow those who have been condemned to death in Texas with one last
         chance at a fair and complete review of the constitutional legitimacy of
         their conviction and punishment. That last chance is neither fair nor
         complete when the attorney who is appointed to assist in the endeavor
         does not properly do his job. The Court today persists in its crabbed
         interpretation of Section 5(a)(1), rejecting the notion that ineffectiveness
         of initial habeas counsel can ever constitute a newly available fact
         justifying a subsequent habeas application. While it may be insisted that
         this interpretation is the most faithful to the black letter of the statute, a
         more forgiving construction is more consistent with the manifest
         legislative intent. And it would assure that inmates like Anthony Graves
         do not have to resort to the federal courts for habeas relief that ultimately
         leads to their exoneration. Just because we are judges does not mean we
         have to leave our humanity in the robing room.

  Ex parte Foster, No. WR-65,799-02 (Tex. Crim. App. Jan.10, 2011) (Price, J.,

  dissenting).

         Moreover, a document that does “not contain sufficient specific facts that, if

  proven to be true, might entitle the applicant to relief” is not a proper application for a

  writ of habeas corpus. Ex parte Medina, 361 S.W.3d 633, 640 (Tex. Crim. App. 2011).

  In Medina, the CCA determined that a document filed by Medina’s state habeas counsel

  was not in fact a proper application because the document he filed was not “a cognizable

  writ application.”   Id. at 643.    In Medina, because the document filed was not “a

  cognizable writ application,” the CCA, pursuant to Article 11.071, Section 4A(b)(3),

  appointed new state habeas counsel and gave newly-appointed counsel 180 days to file a

  proper application. Id.

         The document filed by Mr. Fishburn for Mr. Murphy was similarly not a

  cognizable writ application. Mr. Fishburn filed an error-ridden petition comprised of




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  eight record-based claims for relief. Six of these eight claims challenged the sufficiency

  of the evidence against Mr. Murphy. Because state habeas counsel presented the legal

  and factual sufficiency challenges to the same evidence as separate claims, however,

  every other claim was duplicative. For instance, claim one was a challenge to the legal

  sufficiency of the evidence that Mr. Murphy should have anticipated the commission of

  the offense, while claim two was a challenge to the factual sufficiency of the same

  evidence. None of these sufficiency of the evidence claims were cognizable in state

  habeas corpus. Exhibit 1, at para. 15 (“Thus, the Court concludes that the sufficiency

  challenges Applicant raised in Grounds 1 through 6 are not cognizable on habeas

  review.”); see, e.g., Ex parte McLain, 869 S.W.2d 249, 350 (Tex. Crim. App. 1994)

  (sufficiency of the evidence arguments are not cognizable during state habeas

  proceedings.)

         The remaining two claims raised by state habeas counsel were constitutional

  challenges to Texas’ statutory structure permitting the death penalty for non-triggerman

  parties to an offense. These claims were presented in just over four pages and were

  likewise not cognizable in state habeas proceedings. Exhibit 1, at para. 89 (“Therefore,

  the Court concludes that Grounds 7 & 8 should be dismissed because both are

  procedurally    barred    from    habeas    review.”);    see,   e.g.,   SBOT     Guidelines,

  Guideline12.2(B)(1)(a) (“Habeas corpus counsel must understand that the state habeas

  corpus proceeding is not a second direct appeal. Direct appeal-like, record-based claims

  are not cognizable in state habeas corpus and can be fatal to the capital client.”).

         Because it is not “entirely clear” the state habeas court would find his claims to be

  procedurally defaulted, this Court should not find Mr. Murphy’s claims to be




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  procedurally defaulted and should instead stay the proceedings so that Mr. Murphy can

  return to the state court so that the state court can make this procedural determination.

  There exists a strong possibility that the CCA would not prohibit Mr. Murphy from

  raising his IAC claims either because of an exception to Section 5 due to Mr. Fishburn’s

  incompetence or a finding under Medina that the document Mr. Fishburn filed was not in

  fact a proper habeas application. Mr. Murphy requests that this Court stay the

  proceedings so that he can raise his claims in the state habeas court. Only after he has

  been able to do this, will this Court be able to know with certainty whether Mr. Murphy’s

  claims are procedurally defaulted. Only if they are procedurally defaulted would the rule

  announced in Martinez, if made applicable to Texas cases by Trevino, be applicable in

  Mr. Murphy’s case.

  IV.    If this Court believes Mr. Murphy’s claims of ineffectiveness of trial counsel
         are procedurally defaulted, it should suspend proceedings pending the
         Supreme Court’s decision in Trevino v. Thaler.

         “[T]he power to stay proceedings is incidental to the power inherent in every

  court to control the disposition of causes on its docket with economy of time and effort

  itself, for counsel, and for litigants. How this can be done calls for exercise of judgment,

  which must weigh competing interests and maintain an even balance.” Landis v. N. Am.

  Co., 299 U.S. 248, 254-55 (1936). The Court thus has authority to issue a stay where it

  properly exercises its discretion. See Rhines v. Weber, 544 U.S. 269, 276 (2005); Clinton

  v. Jones, 520 U.S. 681, 706 (1997).

         Here, the State will not suffer substantial (if any) hardship, since Trevino will be

  decided this Supreme Court term. Oral argument in Trevino was held almost a month

  ago – on February 25. A decision will issue most likely this spring. Thus, the critical,




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  threshold issue of whether Martinez applies to Texas will be determined by the Supreme

  Court in a matter of weeks.       The delay caused by a stay would therefore not be

  “immoderate in extent [or] oppressive in its consequences.” Landis, 299 U.S. at 256.

  Moving forward now, without the benefit of soon-to-issue Supreme Court guidance, only

  to retread the same ground, will likely occasion even further delay.

         In short, the Supreme Court’s decision in Trevino will have a significant and

  direct impact on Mr. Murphy’s case if this Court believes his claims of ineffective

  assistance of trial counsel are procedurally defaulted. Given these circumstances, to

  promote judicial economy, and to preserve the parties’ resources, Mr. Murphy asks this

  Court to stay briefing pending resolution of Trevino if it believes his claims of ineffective

  assistance of counsel are procedurally defaulted.




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                      CONCLUSION AND PRAYER FOR RELIEF

         WHEREFORE, Mr. Murphy prays that this Court suspend proceedings to allow

  him to return to state court so that the state court can make the procedural determination

  regarding whether his ineffective assistance of counsel claims are defaulted; if the Court

  finds his claims are defaulted, Mr. Murphy prays that the Court suspend proceedings

  pending the Supreme Court’s decision in Trevino v. Thaler.



                                   Respectfully submitted,

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                              _________________________
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                              CERTIFICATE OF SERVICE

          I certify that on March 20, 2013, a copy of the foregoing pleading was
  electronically served on counsel for the Respondent by filing the document with the
  Clerk of the Court for the U.S. District Court, Northern District of Texas, using the
  electronic case filing system of the court.

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